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5
                          . UNITED STATES DISTRICT COURT
6
                                 DISTRICT OF OREGON
7                                 MEDFORD DMSION

8    In re the Matter of J.P. and E.P.:
                                                  Civil Action No. 1:24-cv-00648-AA
9
     ARNAUD PARIS,
10                                                EX PARTE ORDER FOR
                               Petitioner,        CHILDREN WELLFARE CHECK
11   and                                          AND DIRECT UNSUPERVISED
                                                  DAILY COMMUNICATION WITH
12   HEIDI MARIE BROWN,                           FATHER
13
                               Res ondent.
14

15   ORDER FOR CHILDREN WELLFARE CHECK AND DIRECT
16
     UNSUPERVISED DAILY COMMUNICATION WITH FATHER:
17
     ()GRANTED
18

19
     ()DENIED

20   IT IS SO ORDERED.
21   DATED this_ day of May, 2024
22
                                                      THE HONORABLE ANN L. AIKEN
23
                                             UNITED STATES DISTRICT COURT JUDGE
24

25

      ORDER FOR UNSUPERVISED AND DIRECT
      COMMUNICATION WITH FATHER -
      Page 1 of 2                Case No. 1:24-cv-00648-AA
           Case 1:24-cv-00648-AA        Document 17-1       Filed 05/14/24      Page 2 of 2


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3
                                                       Submitted by:
4                                                      Arnaud PARIS, Pro Per

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7
                                                       13 rue Ferdinand Duval
8                                                      75004 Paris, FRANCE
                                                       +33 .6.88.28.36.41
9

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11

12                                       VERIFICATION
13
           I, Arnaud Paris, declare under penalty of perjury under the laws of the United States
14   of America that the foregoing is true and correct.

15   SIGNED AND DATED this 14th day of May, 2024, in Paris, France.
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19                                      Arnaud Paris
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     ORDER FOR UNSUPERVISED AND DIRECT
     COMMUNICATION WITH FATHER -
     Page 2 of 2         Case No. I :24-cv-00648-AA
